       Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 1 of 7 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Brenda Bevineau,                             )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )      No.    17 C 7340
                                             )
JH Portfolio Debt Equities, LLC, a           )
California limited liability company,        )
                                             )
        Defendant.                           )      Jury Demanded

                                         COMPLAINT

        Plaintiff, Brenda Bevineau, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages, and alleges:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                           PARTIES

        3.      Plaintiff, Brenda Bevineau (“Bevineau"), is a citizen of the State of Illinois,

from whom Defendant attempted to collect a defaulted consumer debt that she allegedly

owed for a Synchrony Bank credit card, despite the fact that she had exercised her

rights to refuse to pay the debt and to be represented by the legal aid attorneys at the

Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities
       Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 2 of 7 PageID #:2



program ("LASPD"), located in Chicago, Illinois.

        4.    Defendant, JH Portfolio Debt Equities, LLC (“JH Portfolio"), is a California

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, defaulted consumer debts that it did not originate. JH

Portfolio operates a nationwide defaulted debt collection business, and attempts to

collect debts from consumers in virtually every state, including consumers in the State

of Illinois. In fact, Defendant JH Portfolio was acting as a debt collector, as that term is

defined in the FDCPA, as to the defaulted consumer debt it attempted to collect from

Plaintiff.

        5.    Defendant JH Portfolio is a bad debt buyer that buys large portfolios of

defaulted consumer debts for pennies on the dollar, which it then collects upon through

other collection agencies. Defendant JH Portfolio’s principal, if not sole, business

purpose is the collection of defaulted consumer debts originated by others.

        6.    Defendant JH Portfolio authorized to conduct business in Illinois, and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Defendant JH Portfolio conducts business in Illinois.

        7.    Moreover, Defendant JH Portfolio licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, Defendant JH Portfolio acts as debt collection agency in Illinois.

                                FACTUAL ALLEGATIONS

        8.    Ms. Bevineau is a disabled senior citizen, with limited assets and income,

who fell behind on paying her bills, including a debt she allegedly owed for a Synchrony



                                              2
      Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 3 of 7 PageID #:3



Bank (“Synchrony”) credit card account. In response to her financial problems, Ms.

Bevineau sought the assistance of the legal aid attorneys at the Chicago Legal Clinic’s

LASPD program, regarding her debt problems, including the Synchrony debt.

      9.        Accordingly, on November 13, 2014, one of Ms. Bevineau's legal aid

attorneys informed Synchrony that Ms. Bevineau was represented by counsel, and

directed Synchrony to cease contacting her and to cease all further collection activities

because Ms. Bevineau was forced, by her financial circumstances, to refuse to pay her

unsecured debt. Copies of this letter and the fax confirmation are attached as Exhibit C.

      10.       Synchrony then had its collection attorneys, Meyer & Njus, (“Meyer”) send

Ms. Bevineau a collection letter, dated March 25, 2015. A copy of this letter is attached

as Exhibit D.

      11.       Accordingly, on May 22, 2015, one of Ms. Bevineau's legal aid attorneys

again informed Synchrony, through its collection attorneys, Meyer, that Ms. Bevineau

was represented by counsel, and directed Synchrony to cease contacting her and to

cease all further collection activities because Ms. Bevineau was forced, by her financial

circumstances, to refuse to pay her unsecured debt. A copy of this letter and the fax

confirmation is attached as Exhibit E.

      12.       Thereafter, Defendant JH Portfolio bought/obtained Ms. Bevineau’s

alleged Synchrony account, ignored the information in the account notes that told it, as

the successor-in-interest, that Ms. Bevineau was represented by counsel as to this debt

and that it could no longer call or write to her, and had another debt collector, Dynamic

Recovery Solutions, send Ms. Bevineau a collection letter, dated February 10, 2017,

demanding payment of the Synchrony debt. A copy of this collection letter is attached



                                             3
      Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 4 of 7 PageID #:4



as Exhibit F.

       13.      Accordingly, on March 6, 2017, Ms. Bevineau’s legal aid attorneys again

informed Defendant in writing, that they represented Ms. Bevineau, that she refused to

pay and that Defendant should cease communications. A copy of this letter and e-mail

confirmation are attached as Exhibit G.

       14.      Defendant’s violations of the FDCPA were material because, although

Plaintiff had been informed by counsel and believed that she had the right to refuse to

pay this debt and to demand that collection communications cease, Defendant’s

collection communications made Plaintiff believe that her demands had been futile and

that she did not have the rights Congress had granted her under the FDCPA.

       15.      Moreover, violations of the FDCPA which would lead a consumer to alter

her course of action as to whether to pay a debt, or which would be a factor in the

consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, 827

(7th Cir. 2012). Here, Defendant’s actions caused Plaintiff to question whether she was

still represented by counsel as to this debt, which caused stress and confusion as to

whether she was required to pay the debt at issue.

       16.      Defendant’s collection actions complained of herein occurred within one

year of the date of this Complaint.

       17.      Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).




                                             4
     Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 5 of 7 PageID #:5



                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      18.    Plaintiff adopts and realleges ¶¶ 1-17.

      19.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      20.    Here, the letters from Plaintiff’s attorneys to Defendant’s predecessor-in-

interest (Exhibits C and E) told Defendant to cease communications and cease

collections. By directly communicating with Ms. Bevineau regarding this debt and

demanding payment (Exhibit F), Defendant violated § 1692c(c) of the FDCPA.

      21.    Defendant’s violation of § 1692c(c) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      22.    Plaintiff adopts and realleges ¶¶ 1-17.

      23.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      24.    Defendant knew, or readily could have known, that Plaintiff was

represented by counsel in connection with her debt because her attorneys had given



                                            5
      Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 6 of 7 PageID #:6



notice in writing, to Defendant’s predecessor-in-interest, that Plaintiff was represented

by counsel, and had directed a cessation of communications with Plaintiff. By directly

sending Plaintiff a collection letter (Exhibit F), despite being advised that she was

represented by counsel, Defendant violated § 1692c(a)(2) of the FDCPA.

       25.    Defendant’s violation of § 1692c(a)(2) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

       Plaintiff, Brenda Bevineau, prays that this Court:

       1.     Find that Defendant’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Bevineau, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                     JURY DEMAND

       Plaintiff, Brenda Bevineau, demands trial by jury.

                                                 Brenda Bevineau,

                                                 By: /s/ David J. Philipps________
                                                 One of Plaintiff’s Attorneys
Dated: October 10, 2017




                                             6
      Case: 1:17-cv-07340 Document #: 1 Filed: 10/11/17 Page 7 of 7 PageID #:7



David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Angie K. Robertson (Ill. Bar No. 06302858)
Philipps & Philipps, Ltd.
9760 S. Roberts Road
Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com
mephilipps@aol.com
angiekrobertson@aol.com




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